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                                       U.S. Department of Justice
                                       Civil Division, Federal Programs Branch
                                       20 Massachusetts Avenue NW
                                       Washington, DC 20530



By ECF                                            August 31, 2018
The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
Thurgood Marshall Courthouse
40 Foley Square
New York, New York 10007

       Re: State of New York, et al., v. U.S. Department of Commerce, et al., 18-cv-2921 (JMF)
           N.Y. Immigration Coalition v. U.S. Dep’t of Commerce, 18-cv-5025 (JMF)

Dear Judge Furman:

        Pursuant to Local Rule 37.2 and Individual Practice 2.C, Defendants respectfully request
that the Court stay discovery—at a minimum, further discovery of the Department of Justice
(DOJ), particularly the deposition of Acting Assistant Attorney General (AAG) John Gore—
pending resolution of Defendants’ forthcoming petition for a writ of mandamus in the U.S. Court
of Appeals for the Second Circuit. In a July 5 order, the Court, among other orders, authorized
extra-record discovery. ECF No. 199; July 3 Tr. at pp. 81‒82. Though the Court intended the
scope of discovery to be limited in scope to that “necessary to effectuate the Court’s judicial
review,” id. at 85, Defendants have strived to respond to Plaintiffs’ voluminous requests despite
their overbreadth and burdensomeness. The Court further indicated it would allow discovery of
“materials from the Department of Justice,” id. at 86, but in an August 17 order the Court granted
Plaintiffs’ motion to compel AAG Gore’s deposition. ECF No. 261. The allowance of this
deposition, in combination with the overwhelming discovery burden imposed by Plaintiffs’
requests, has raised the distinct and significant issue of whether there should be discovery of an
agency that did not take the action being challenged and, in particular, the deposition of a high
level official at that agency. Thus, Defendants will be seeking review of these orders in a
forthcoming petition for a writ of mandamus. In accordance with Federal Rule of Appellate
Procedure 8(a)(1), the United States respectfully requests that the Court grant a stay of discovery
as discussed above until the final resolution of that mandamus petition, and at a minimum an
administrative stay while the Court considers this stay request. The New York and NYIC Plaintiffs
advise that they “oppose a discovery stay, and remain willing to work with the Defendants to
address or otherwise accommodate any concerns about burden associated with our discovery
requests.”
        In considering a motion for a stay pending mandamus, district courts consider the same
factors relevant for a stay pending appeal: “(1) whether the stay applicant has made a strong
showing that he is likely to succeed on the merits; (2) whether the applicant will be irreparably
injured absent a stay; (3) whether issuance of the stay will substantially injure the other parties
interested in the proceeding; and (4) where the public interest lies.” In re World Trade Ctr.
Disaster Site Litig., 503 F.3d 167, 170 (2d Cir. 2007) (footnote omitted). The “probability of
success that must be demonstrated is inversely proportional to the amount of irreparable injury
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[the applicant] will suffer absent the stay.” Mohammed v. Reno, 309 F.3d 95, 101 (2d Cir. 2002)
(quoting Mich. Coal. of Radioactive Material Users, Inc. v. Griepentrog, 945 F.2d 150, 153 (6th
Cir. 1991)). “[A] movant may be granted relief even if it demonstrates something less than a
likelihood of success on the merits of its appeal[, for example,] if the balance of hardships ‘tips
decidedly’ in favor of the moving party.” Sutherland v. Ernst & Young LLP, 856 F. Supp. 2d 638,
640 (S.D.N.Y. 2012).
1. Defendants are likely to succeed on the merits of their mandamus petition: The Second
Circuit will issue a writ of mandamus in certain “exceptional circumstances” where there has been
a “clear abuse of discretion.” In re The City of New York, 607 F.3d 923, 932 (2d Cir. 2010) (quoting
Cheney v. U.S. Dist. Court for Dist. of Columbia, 542 U.S. 367, 380 (2004)). “To determine
whether mandamus is ‘appropriate’ in the context of a discovery ruling, [the Second Circuit]
look[s] primarily for ‘the presence of a novel and significant question of law ... and ... the presence
of a legal issue whose resolution will aid in the administration of justice.’” New York, 607 F.3d at
939 (quoting In re SEC ex rel. Glotzer, 374 F.3d 184, 187 (2d Cir. 2004)). Mandamus is
particularly appropriate where “a party will be irreparably damaged if forced to wait until final
resolution of the underlying litigation” and a direct appeal. United States v. Prevezon Holdings
Ltd., 839 F.3d 227, 236 (2d Cir. 2016) (quoting Firestone Tire & Rubber Co. v. Risjord, 449 U.S.
368, 378 n.13 (1981)).

        Defendants respectfully maintain that the Court committed legal error when it concluded
that Plaintiffs made the required strong showing of “bad faith” to justify extra-record discovery.
July 3 Tr. 82-83. “[T]he APA specifically contemplates judicial review on the basis of the agency
record,” Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 744 (1985), and an agency’s decision
must be upheld if the record reveals a “rational” basis for that decision, Motor Vehicle Mfrs. Ass’n
of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 42-43 (1983). In light of that
fundamental principle of deference to an agency’s objective explanation, Defendants contend that
the type of “bad faith” necessary to authorize extra-record discovery under the APA, Citizens to
Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 420 (1971), requires a strong demonstration
that Secretary Ross did not actually believe his stated rationale for reinstating a citizenship
question. Cf. Nat’l Sec. Archive v. CIA, 752 F.3d 460, 462 (D.C. Cir. 2014) (Agency decision-
makers “should be judged by what they decided, not for matters they considered before making up
their minds.”). The Court neither articulated that legal standard nor made such a factual finding.
Instead, the Court inferred bad faith primarily from evidence that, before DOJ sent its letter about
Voting Rights Act (VRA) enforcement, the Commerce Secretary and his staff were already
considering whether to reinstate a question about citizenship, contacted DOJ to inquire whether
reinstatement of a question would further enforcement of the VRA, and then, taking into account
the analyses and objections of Census Bureau career staff, quickly accepted DOJ’s request to
reinstate a question. July 3 Tr. 82-85. Defendants respectfully contend that none of this is legally
relevant to whether Secretary Ross acted in bad faith in deciding to reinstate a citizenship question,
such that wide-ranging discovery into the Secretary’s mental processes was justified. See Jagers
v. Fed. Crop Ins. Corp., 758 F.3d 1179, 1185 (10th Cir. 2014) (rejecting argument that “the
agency’s possible motivations to reach a particular result prove that the agency acted in bad faith
… by reaching this result after finding supportive objective evidence”).
      Equally, if not more, importantly, even if some discovery was warranted, the Court
committed a second, independent legal error when it entered an order compelling the deposition
of AAG Gore. Aug. 17 Order. There is no demonstrable need to compel the testimony of AAG

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Gore. See Lederman v. N.Y. City Dep’t of Parks & Rec., 731 F.3d 199, 203 (2d Cir. 2013) (judicial
orders compelling testimony of high-ranking officials are highly disfavored and are justified only
under “exceptional circumstances”). The decision Plaintiffs challenge was made by the Secretary
of Commerce, not the Department of Justice, and the linchpin of the Court’s ruling permitting
discovery was its view that the evidence suggests that Commerce Secretary Ross’s “stated
rationale [for reinstating a citizenship question] was pre-textual.” July 3 Tr. 84. At no point in
this litigation has this Court found, or have Plaintiffs provided any basis to find, that DOJ did not
officially stand behind its recommendation that reinstating a citizenship question to the census
would be useful for VRA enforcement, regardless of how it got there, or even that DOJ had
additional, unstated reasons for its recommendation. The mental processes of a DOJ Acting
Assistant Attorney General are thus irrelevant to assessing the Commerce Secretary’s reasons for
adopting a citizenship question.
        Moreover, Plaintiffs have at this point received thousands of pages of discovery documents
from the Department of Commerce, including communications between the Secretary and his
closest advisers. Plaintiffs have also deposed six high-ranking Commerce and Census Bureau
officials. The Court failed to consider whether these extensive discovery materials provide an
alternate, less burdensome means through which Plaintiffs could evaluate the Secretary’s
subjective intent in reinstating a citizenship question (to the limited extent that intent may be
relevant). At the very least, the Court was required to explore that possibility before taking the
extraordinary step of requiring an official from a separate agency to appear for a deposition.
2. Defendants will be irreparably injured absent a stay: Without a stay, Defendants will be
required to expend significant time and resources to collect, review, and produce additional
discovery materials which are not necessary in order for Plaintiffs to pursue their claims. In
addition, Acting Assistant Attorney General Gore will be compelled to prepare for and attend an
inherently burdensome deposition. Once those resources are expended, they cannot be recovered.
3. Issuance of a short stay will not substantially injure Plaintiffs: Plaintiffs’ need for additional
discovery immediately is low. Defendants have already completed an administrative record
consisting of 1,300 pages, produced an administrative record supplement of over 11,000 pages,
provided a discovery production of almost 10,000 pages, and made six witnesses available for
depositions (including Commerce officials and a Rule 30(b)(6) witness from Census).
4. The public interest supports a stay: If the Defendants’ petition for a writ of mandamus is
successful, the costs and scope of discovery stand to be significantly and meaningfully constrained.
“[C]onsiderations of judicial economy counsel, as a general matter, against investment of court
resources in proceedings that may prove to have been unnecessary.” Sutherland, 856 F. Supp. 2d
at 644.
                                                ***
        Defendants have raised at least serious questions on the merits of the discovery disputes
identified above, and the balance of hardships tilts decidedly in Defendants’ favor.
Notwithstanding Plaintiffs’ contentions to the contrary, Defendants have produced ample
materials in compliance with the Court’s order to supplement the record and, therefore, it would
be more prudent to stay discovery more generally until the scope of the remaining discovery to be
conducted can be defined through Defendants’ petition for a writ of mandamus. At a minimum,
the Court should stay discovery of DOJ, particularly the deposition of AAG Gore.



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                                    Respectfully submitted,

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